       Case 8-16-72767-las              Doc 198     Filed 01/06/17     Entered 01/06/17 13:33:14




Rosen, Kantrow & Dillon, PLLC
Attorneys for Allan B. Mendelsohn, Trustee
38 New Street
Huntington, New York 11743
631 423 8527
Fred S. Kantrow
UNITED STATES BANKRUPTCY COURT                                       RETURN DATE: 1/31/17
EASTERN DISTRICT OF NEW YORK                                         TIME: 10:00 a.m.
------------------------------------------------------------x
In re:
                                                                     Case No.: 16-72767-las
HI-TEMP SPECIALTY METALS, INC.,                                      Chapter 7

                                    Debtor.
------------------------------------------------------------x


                     NOTICE OF TRUSTEE’S APPLICATION TO EMPLOY
                   EISNER AMPER AS ACCOUNTANTS FOR THE TRUSTEE

         PLEASE TAKE NOTICE that Allan B. Mendelsohn, the trustee herein (the “Trustee”),

by and through his counsel, Rosen, Kantrow & Dillon, PLLC, shall move before the Hon. Louis

A. Scarcella, United States Bankruptcy Judge, for the entry of an Order, substantially in the form

of the proposed Order annexed hereto, authorizing the Trustee to retain Eisner Amper as his

accountants, at the United States Bankruptcy Court, 290 Federal Plaza, Central Islip, New York

11722 in Courtroom 970, on JANUARY 31, 2017 at 10:00 a.m. or as soon thereafter as counsel

may be heard.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the application, must

be in writing and must be served upon the Trustee’s counsel, Rosen, Kantrow & Dillon, PLLC,

38 New Street, Huntington, New York 11743 to the attention of Fred S. Kantrow, Esq.; and the

Office of the United States Trustee, 560 Federal Plaza, Central Islip, New York 11722 to the

attention of Alfred M. Dimino, Esq.; with a hard copy directed to the Court; and must conform to

the Federal Rules of Bankruptcy Procedure and the Local Rules of the Bankruptcy Court, as
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modified by any administrative orders entered in this case, and be filed with the Bankruptcy

Court electronically in accordance with the Administrative Orders of this Court, by registered

users of the Bankruptcy Court=s case filing system and, by all other parties in interest, on a 3.5

inch disk, preferably in Portable Document Format (PDF), WordPerfect, Microsoft Word, DOS

text (ASCII) or a scanned image of the filing, by not later than JANUARY 24, 2017.

       PLEASE TAKE FURTHER NOTICE that only timely objections made be considered

by the Court.

Dated: Huntington, New York
       January 6, 2017
                                              Rosen, Kantrow & Dillon, PLLC
                                              Counsel to the Trustee

                                       BY:    S/Fred S. Kantrow
                                              Fred S. Kantrow
                                              38 New Street
                                              Huntington, New York 11743
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